              Case 1:11-cr-00299-AWI Document 148 Filed 12/30/16 Page 1 of 4


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 7
                                  IN THE UNITED STATES DISTRICT COURT
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                                    EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                      CASE NO. 1:11-CR-00299-AWI
11
                                     Plaintiff,     FINAL ORDER OF FORFEITURE
12
                              v.
13
     MARIANO VEGA HERNANDEZ,
14
                                   Defendant.
15

16
            WHEREAS, on October 15, 2012, this Court entered a Preliminary Order of
17
     Forfeiture pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c) and
18
     Fed. R. Crim. P. 32.2(b)(1), based upon the plea agreement entered into between plaintiff
19
     and defendant Mariano Vega Hernandez forfeiting to the United States the following
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     property:
21
            1.       Approximately 19,400 CD and DVD graphic inserts,
22
            2.       Approximately 1,850 Blank CDs,
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            3.       Approximately 33,100 Blank DVDs,
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            4.       Approximately 15,798 CD and DVD cases,
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            5.       Approximately 3,798 disc sleeves,
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            6.       Seal bags and wrappers,
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            7.       The following items seized from 1608 Boise Avenue, Modesto, California on
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      Final Order of Forfeiture                     1
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             Case 1:11-cr-00299-AWI Document 148 Filed 12/30/16 Page 2 of 4


 1 July 25, 2011:

 2                          a.   Approximately 6,825 DVDs and 268 CDs
 3                          b.   9 CD and DVD disc burning towers,
 4                          c.   50 computer printers
 5                          d.   2 copy machines,
 6                          e.   2 computer scanners, and
 7                          f.   3 computers,
 8         8.       Approximately 30,560 DVDs and 68,785 CDs seized from 521 Winmoore Way,
 9 Modesto, California on July 25, 2011,
10         9.       45,083 CDs seized from the possession of VINCENTA MUNOZ-PERALTA,
11 MARIANO VEGA HERNANDEZ, MARTIN MUNOZ PERALTA, ROMAN SANTANA, and

12 ANTONIO HERNANDEZ SANCHEZ, at Modesto 7th Street Flea Market, 1107 South

13 7th Street, Modesto, California on July 25, 2011,

14         10.      2006 Chevrolet Van, VIN# 1GCGG92U061129158, License Plate Number
15 6JEH084,

16         11.      745 DVDs and 136 CDs seized from the van of MARTIN MUNOZ PERALTA,
17 License Plate Number 6JEH084, on July 25, 2011,

18         12.      2005 Chevrolet G2500 Cargo Van, VIN#1GCGG29V251246862, License Plate
19 Number 8Y55066,

20         13.      Approximately 15 DVDs and 73 CDs seized from the van of LEONEL
21 MARTINEZ CABALLERO, 2005 Chevrolet G2500 Cargo Van, VIN#

22 1GCGG29V251246862, License Plate Number 8Y55066,

23         14.      6 DVDs and 106 CDs seized from a Cadillac Escalade under the control of
24 MARIANO VEGA HERNANDEZ, License Plate Number NV 532WGK,

25         15.      3 DVDs and 2 CDs seized from a Jeep vehicle under the control of MARIANO
26 VEGA HERNANDEZ, License Plate Number 4SXR218,
27         16.      780 DVDs and 2,380 CDs seized from 2342 Poland Road, Modesto, California,
28 and the vehicles of EDGAR BAUTISTA ARAZATE on July 25, 2011,

     Final Order of Forfeiture                      2
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              Case 1:11-cr-00299-AWI Document 148 Filed 12/30/16 Page 3 of 4


 1          17.      Approximately $13,193.00 in U.S. Currency, seized from LEONEL
 2 MARTINEZ CABALLERO, on July 25, 2011,

 3          18.      2007 Toyota Camry, VIN# 4T1BE46K27U010313, License Plate Number
 4 5UED102, and

 5          19.      The following items seized from the van of LEONEL MARTINEZ
 6 CABALLERO, Chevrolet 3500 Cargo Van, VIN# 1GCHG39U531120297, License

 7 Plate Number 8W16802:

 8                   a.      1 “Continuous Ink System” printer module,
 9                   b.      1 Konica BizHub copy machine,
10                   c.      4 cases of copy machine paper, and
11                   d.      2 CD and DVD disc burning towers.
12          AND WHEREAS, beginning August 28, 2016, for at least 30 consecutive days, the
13 United States published notice of the Court’s Order of Forfeiture on the official internet

14 government forfeiture site www.forfeiture.gov. Said published notice advised all third

15 parties of their right to petition the Court within sixty (60) days from the first day of

16 publication of the notice for a hearing to adjudicate the validity of their alleged legal

17 interest in the forfeited property;

18          AND WHEREAS, the Court has been advised that no third party has filed a claim
19 to the subject property and the time for any person or entity to file a claim has expired.

20          Accordingly, it is hereby ORDERED and ADJUDGED:
21          1. A Final Order of Forfeiture shall be entered forfeiting to the United States of
22 America a1l right, title, and interest in the above-listed property pursuant to 18 U.S.C. §

23 981(a)(1)(C), 28 U.S.C. § 2461(c) and Fed. R. Crim. P. 32.2(b)(1), to be disposed of

24 according to law, including all right, title, and interest of Mariano Vega Hernandez.

25          2. All right, title, and interest in the above-listed property shall vest solely in the
26 name of the United States of America.
27          3. The United States Marshals Service (or designee) shall maintain custody of and
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      Final Order of Forfeiture                      3
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             Case 1:11-cr-00299-AWI Document 148 Filed 12/30/16 Page 4 of 4


 1 control over the subject property until it is disposed of according to law.

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 3 IT IS SO ORDERED.

 4 Dated: December 30, 2016
                                           SENIOR DISTRICT JUDGE
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     Final Order of Forfeiture                    4
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